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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA
JAMES L. BROWN, on behalf           :
of himself and all others similarly
situated,                           :
           Plaintiffs                 :   CIVIL ACTION NO. 3:14-0591
           v.                         :
                                               (JUDGE MANNION)
ACCESS MIDSTREAM             :
PARTNERS, L.P., CHESAPEAKE
ENERGY CORP., and DOMENIC J. :
DELL’OSSO, JR.,
                             :
        Defendants
                             :


THE SUESSENBACH FAMILY               :
LIMITED PARTNERSHIP, JAMES
S. SUESSENBACH, individually         :
and on behalf of himself and all
others similarly situated, and       :     CIVIL ACTION NO. 3:14-1197
GINA M. SUESSENBACH,
individually and on behalf of all    :
others similarly situated,                     (JUDGE MANNION)
                                      :
           Plaintiffs
                                      :
           v.
                                      :
ACCESS MIDSTREAM PARTNERS,
L.P., and CHESAPEAKE ENERGY :
CORPORATION,
                            :
           Defendants
                            :
                             MEMORANDUM
     Pending before the court are the following motions filed in Civil Action
No. 3:14-0591: (1) a Motion to Consolidate the above-captioned matters filed
on behalf of the Suessenbach plaintiffs, (Doc. 46); (2) a Motion to Appoint
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Michael D. Donovan, Noah Axler, and the Law Firm of Donovan Axler, LLC,
as Interim Class Counsel in the Brown case, (Doc. 50); and (3) a Motion to
Appoint Kessler Topaz Meltzer & Check, LLP, (“Kessler Topaz”), as Interim
Class Counsel and Rosenn Jenkins & Greenwald LLP, (“Rosenn Jenkins”),
as Interim Liaison Counsel, (Doc. 54). Also pending is the Suessenbach
plaintiffs’ Motion to Appoint Kessler Topaz as Interim Class Counsel and
Rosenn Jenkins as Interim Liaison Counsel filed in Civil Action No. 3:14-1197.
(Doc. 15).
      Because the court writes for the parties, who are familiar with the factual
and procedural background of the above-captioned matters, the court does
not set forth the details of those matters herein. Suffice it to say that the
Suessenbachs have filed a motion to have the above-captioned matters
consolidated under the provisions of Fed.R.Civ.P. 42.
      Rule 42(a) of the Federal Rules of Civil Procedure provides:
      When actions involving a common question of law or fact are
      pending before the court, it may order a joint hearing or trial of
      any or all the matters in issue in the actions; it may order all the
      actions consolidated; and it may make such orders concerning
      proceedings therein as may tend to avoid unnecessary costs or
      delay.
(Emphasis added).
      Rule 42(a) . . . confers upon a district court broad power, whether at the
request of a party or upon its own initiative, to consolidate causes for trial as
may facilitate the administration of justice.” Ellerman Lines, Ltd. v. Atlantic &
Gulf Stevedores, Inc., 339 F.2d 673, 675-76 (3d Cir. 1964), cert. denied, 382
U.S. 812 (1965). Although the existence of common issues is a prerequisite

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for consolidation, the mere fact that multiple actions involve common issues
of fact or law does not compel consolidation. Russell v. United States, 2012
WL 2792239, at *2 (M.D. Pa. July 9, 2012) (citing Liberty Lincoln Mercury, Inc.
v. Ford Mktg. Corp., 149 F.R.D. 65, 80 (D.N.J. 1993)). In considering a motion
to consolidate, the court must balance the savings of time and effort gained
through consolidation against the prejudice, inconvenience, or expense that
it might cause. See Mincy v. Chmielewski, 2006 WL 1997457, at *2 (M.D.Pa.
2006) (citing Bernardi v. City of Scranton, 101 F.R.D. 411, 413 (M.D.Pa.
1983)). The moving party bears the burden of proof on a motion to
consolidate. See Borough of Olyphant v. PPL Corp., 153 Fed.Appx. 80 (3d
Cir. 2005). See also Vicky M. v. Ne. Educ. Intermediate Unit, 2010 WL
481244, at *1 (M.D. Pa. Feb. 4, 2010).
      With respect to the Suessenbachs’ motion to consolidate, the court
notes initially that, by order dated September 30, 2014, the above-captioned
matters have already been consolidated for purposes of discovery. (Civil
Action No. 3:14-0591, Doc. 74). The question that remains is whether the
cases should be consolidated for all purposes. After reviewing the motion to
consolidate and related briefing, the court finds that the balance weighs
against complete consolidation of the above actions at this time. The court will
therefore deny the Suessenbachs’ motion to consolidate the above-captioned
matters. The denial will however be without prejudice subject to renewal, if
necessary, after the completion of discovery.
      Upon review, it is apparent that the above actions have certain factual


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and legal similarities. For instance, both actions allege in some fashion that
the plaintiffs were forced to pay inflated gathering and transportation fees. In
addition, the actions each allege that it was a conspiracy between defendants
Access Midstream Partners, L.P., and Chesapeake Energy Corporation which
resulted in the inflated fees. Further, each action sets forth claims of violations
of the Racketeer Influenced and Corrupt Organizations Act, (“RICO”), and
unjust enrichment.
      Of concern to Mr. Brown, who opposes the Suessenbachs’ motion to
consolidate,1 is the fact that the Suessenbachs have two leases which control
their claims: a primary lease, a/k/a the Anadarko Lease, which contains
language that is materially different from Mr. Brown’s lease language, and a
secondary lease, which is admittedly similar to Mr. Brown’s lease. Mr. Brown
argues that the differences of the Suessenbachs’ primary lease may effect the
issue of class certification in his case because courts rely on the specific


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        Access Midstream Partners, L.P., has filed a response to the motion
to consolidate in which it indicates that it does not oppose consolidation of the
above-captioned matters for discovery purposes so long as the provisions of
the court’s July 15, 2014 case management order continue to apply, and so
long as it does not result in prejudice or delay, including in considering any
pending and to be filed motions to dismiss. (Doc. 49) (emphasis added).
Access Midstream does not address the motion to consolidate outside of the
discovery context.
       Chesapeake Energy Corporation and Domenic J. Dell-Osso, Jr., have
also filed a response to the motion to consolidate in which they indicate that
they do not oppose consolidation of the above-captioned matters, so long as
resolution of the motions to dismiss filed in Brown are not delayed and
limitations already set by the court continue to be in place in the consolidated
cases. (Doc. 53).

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lease language to determine, in the first instance, the central royalty
obligations and do not mandate application of an across-the-board formula
without reference to that lease language. Mr. Brown argues that the
differences between the named plaintiff’s lease language and those of class
members has already led to a number of courts denying class certification in
gas royalty underpayment cases on commonality and typicality grounds.
      Also of concern to Mr. Brown is that, although the interpretation of the
Suessenbachs’ Anadarko lease with respect to royalties and deductions will
be necessary for the Suessenbach’s claims, it is irrelevant to the claims in his
case. Therefore, Mr. Brown argues that consolidation would force him and the
purported class in his case to address legal and factual issues related to the
Suessenbachs’ lease where they would otherwise not have to do so.
      Mr. Brown further argues that the Suessenbachs have failed to engage
Chesapeake Appalachia in any litigation or arbitration, although they allege
that Chesapeake Appalachia was the party with which they contracted and
which committed the predicate RICO acts of sending the royalty statements
reflecting overcharges. Mr. Brown argues that this is a practical impediment
to their case in that the ability to get discovery from a party, even if in
arbitration, is streamlined when compared to seeking third party discovery.
Mr. Brown, on the other hand, is currently engaging in arbitration with
Chesapeake Appalachia. He argues that the Suessenbachs should not be
permitted to cure their lack of an action against Chesapeake Appalachia
through consolidation with his case.


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      Finally, Mr. Brown argues that significant work has been done in his
case, including the initiation of discovery, the retention of consultants with
expertise in the natural gas industry and, in particular, in the pricing and costs
of natural gas gathering and transportation, and the preparation of responses
to initial dispositive motions. Mr. Brown argues that none of this work was
performed with the expectation of having to take into account the issues
raised in the Suessenbachs’ action and it would prejudice him and the
purported class to have to alter their litigation strategy if these cases were
consolidated.
      The Suessenbachs counter that Mr. Brown’s concerns relating to
streamlining discovery with Chesapeake Appalachia and the work conducted
thus far do not warrant denial of consolidation. The court agrees with these
arguments. The initial intent of consolidation is “to streamline and economize
pretrial proceedings so as to avoid duplication of effort”, see In re TMI Litig.,
193 F.3d 613, 724 (3d Cir. 1999) (quoting In re Prudential Secs. Inc. Ltd.
Partnerships Litig., 158 F.R.D. 562, 571 (S.D.N.Y. 1994)). This intent is being
served by this court’s order consolidating the above actions for purposes of
discovery. Moreover, as to the work conducted in the matter thus far, the
litigation is still in the early phases with initial motions to dismiss currently
pending before the court.
      The Suessenbachs, citing to an unpublished Northern District of




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Oklahoma case2 which is not binding upon this court, also argue that the
issue at hand is simply whether the above actions should be consolidated
under Fed.R.Civ.P. 42(a) and any impact on a potential class certification
should not be considered. In Lindley, the plaintiff argued that consolidation
would deprive him of his “right” to be a class representative. Lindley, 2009 WL
2601949 at *4. The court in that case found the plaintiff’s concern to be
irrelevant, indicating that the plaintiff did not have the “right” to file and
maintain a class action. Id. While this court agrees that Mr. Brown does not
have a “right” to file and maintain a class action, See Ortiz v. Fibreboard, 527
U.S. 815, 846, 119 S.Ct. 2295, 144 L.Ed.2d 715 (1999); Hansberry v. Lee,
311 U.S. 32, 42-43, 61 S.Ct. 115, 85 L.Ed. 22 (1940), the job of Mr. Brown’s
counsel is to consider what impact, if any, consolidation will have upon his
clients’ case, whether that case has been brought on an individual basis or
otherwise. Mr. Brown’s case has from the beginning been brought as a
purported class action. Therefore, whether consolidation of the matters will
effect counsel’s ability to get a class certified is a valid concern for him.
Further, at this stage, it is uncertain whether the addition of issues related to
the Suessenbachs’ Anadarko lease will act to confuse matters in the Brown
case and force those in the Brown case to expend time on issues that they
may otherwise need not have to address. For these reasons, the court finds
that, at this time, consolidation of the above-captioned matters for all


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      Lindley v. Life Investors Ins. Co. of America, 2009 WL 2601949 (N.D.
Okla. Aug. 20, 2009).

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purposes would not facilitate the administration of justice. The Suessenbachs’
motion for consolidation will therefore be denied. However, the denial is
without prejudice, subject to renewal, if after completion of discovery, the
parties uncover additional information which they feel may be relevant to the
issue of consolidation.
      The court next considers the motions filed to appoint interim counsel.
Rule 23(g)(3) of the Federal Rules of Civil Procedure provides that the court
“may designate interim counsel to act on behalf of a putative class before
determining whether to certify the action as a class action.” In complex cases,
appointment of interim class counsel can clarify the responsibilities of the
parties prior to class certification. Manual for Complex Litigation (Fourth)
§21.11. The same factors governing the appointment of class counsel apply
when appointing interim class counsel. See e.g., In re Air Cargo Shipping
Servs. Antitrust Litig., 240 F.R.D. 56, 57 (E.D.N.Y. 2006). Rule 23(g)(1)
provides that a court appointing class counsel:
      (A)   must consider:
            (i)     the work counsel has done in identifying or investigating
                    potential claims in the action;
            (ii)    counsel’s experience in handling class actions, other
                    complex litigation, and the types of claims asserted in the
                    action;
            (iii)   counsel’s knowledge of the applicable law; and
            (iv)    the resources that counsel will commit to representing the


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                  class;
      (B)   may consider any other matter pertinent to counsel’s ability to
            fairly and adequately represent the interests of the class;
      (C)   may order potential class counsel to provide information on any
            subject pertinent to the appointment and to propose terms for
            attorney’s fees and nontaxable costs;
      (D)   may include in the appointing order provisions about the award of
            attorney’s fees or nontaxable costs under Rule 23(h); and
      (E)   may make further orders in connection with the appointment.
Fed.R.Civ.P. 23(g)(1). When more than one adequate applicant is seeking
appointment as interim class counsel, the court must “appoint the applicant
best able to represent the interests of the class.” Fed.R.Civ.P. 23(g)(2).
      In light of the fact that the court has determined that consolidation of the
above-captioned matters beyond discovery is not warranted at this time, and
because of the work that each counsel has performed in their own respective
case, the court finds it appropriate to appoint Michael D. Donovan, Noah
Axler, and the Law Firm of Donovan Axler, LLC, as interim class counsel in
the Brown case, Civil Action No. 3:14-0591. That motion will therefore be
granted. The motion filed in the Brown case to appoint Kessler Topaz as
interim class counsel and Rosenn Jenkins as interim liaison counsel will be
denied. The motion filed in the Suessenbach case, Civil Action No. 3:14-1197,
to appoint Kessler Topaz as interim class counsel and Rosenn Jenkins as
interim liaison counsel will be granted with respect to the Suessenbach action


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only and not with respect to any other action.
          Based upon the foregoing, an appropriate order shall issue.




                                                                   s/ Malachy E. Mannion
                                                                   MALACHY E. MANNION
                                                                   United States District Judge


Date: March 31, 2015
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